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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

Yiu Wong,                                                 Case No.

          Plaintiff,

v.

Collecto, Inc.                                                        COMPLAINT
Dba EOS CCA
c/o CT Corporation System
208 S. LaSalle Street, Suite 814
Chicago, IL 60604,
                                                          Jury Demand Requested
          Defendant.

                                    JURISDICTION AND VENUE

     1- This court has jurisdiction pursuant to 28 U.S.C. §1331 and 15 U.S.C. §1692k(d).

     2- Venue is proper because a substantial part of the events giving rise to this claim occurred

         in this District.

                                                PARTIES

     3- Plaintiff is a resident of the State of Illinois.

     4- Plaintiff incurred an obligation to pay money, the primary purpose of which was for

         personal, family, or household uses (the “Debt”).

     5- Defendant is a corporation with its principal place of business in the State of

         Massachusetts.

     6- Defendant uses instruments of interstate commerce for its principal purpose of business,

         which it the collection of debts.

     7- Defendant regularly attempts to collects, or attempts to collect, debts owed or due another.

     8- At all times relevant, Defendant owned the Debt or was retained to collect the Debt.




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                         FACTS COMMON TO ALL COUNTS

9- On or around February 12, 2015, Plaintiff telephoned Defendant and told Defendant that

   he was going to file bankruptcy and gave them his attorney’s contact information.

10- Despite having notice of his representation, Defendant telephoned Plaintiff at least 4 more

   times thereafter.

11- Defendant damaged Plaintiff.

12- Defendant violated the FDCPA.

                                             COUNT I

13- Plaintiff incorporates all the allegations and statements made above as if reiterated herein.

14- Defendant violated 15 USC § 1692c(a)(2) by communicating with a consumer after

   Defendant knew, or should have known, that Plaintiff was represented by an attorney

   regarding the debt.

                                             COUNT II

15- Plaintiff incorporates all the allegations and statements made above as if reiterated herein.

16- Defendant violated 15 USC § 1692e by engaging in false and misleading practices during

   the attempted collection of a debt.

                                            COUNT III

17- Plaintiff incorporates all the allegations and statements made above as if reiterated herein.

18- Defendant violated 15 USC § 1692f by engaging in unfair and unconscionable practices

   during the attempted collection of a debt.




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                                         JURY DEMAND

19- Plaintiff demands a trial by jury.

                                   PRAYER FOR RELIEF

20- Plaintiff prays for the following relief:

            a. Judgment against Defendant for Plaintiff’s actual damages, as determined at

                trial, suffered as a direct and proximate result Defendant’s violations of the

                Fair Debt Collection Practices Act, pursuant to 15 U.S.C. §1692k(a)(1);

            b. Judgment against Defendant for $1,000 in statutory damages for Defendant’s

                violations of the Fair Debt Collection Practices Act, pursuant to 15 U.S.C.

                §1692k(a)(2)(A);

            c. Judgment against Defendant for Plaintiff’s reasonable attorneys’ fees and costs

                incurred in this action, pursuant to 15 U.S.C. §1692k(a)(3); and

            d. Any other legal and/or equitable relief as the Court deems appropriate.

                                                RESPECTFULLY SUBMITTED,

                                                Meier LLC

                                                By: /s/ Richard J. Meier
                                                Richard J. Meier, Esq.
                                                53 W. Jackson Blvd, Suite 304
                                                Chicago, IL 60604
                                                Tel: 312-242-1849
                                                Fax: 312-242-1841
                                                richard@meierllc.com
                                                Attorney for Plaintiff




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